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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

TECNICAS REUNIDAS SA, a Spanish )
corporation, )
Plaintiff, )
)

v. ) Civil Action No. 08-425-DRH-PMF
)

BIG RIVER ZINC CORPORATION, a ) Chief Judge David R. Herndon
Delaware corporation, and ZINCOX )} Magistrate Judge Phillip M. Frazier

RESOURCES PLC, an English company, )

)
Defendants. )

ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS OF
DEFENDANTS BIG RIVER ZINC CORPORATION AND ZINCOX RESOURCES
PLC

Defendant/Counter-Plaintiff BIG RIVER ZINC CORPORATION (“BRZ”) and
Defendant/Counter-Plaintiff ZINCOX RESOURCES PLC (“ZincOx”) (collectively
referred to as “Defendants” or “Counter-Plaintiffs”), by their undersigned attorneys,
answer Plaintiff's Complaint as follows:

I. NATURE OF ACTION

Complaint, Para. 1: This action arises under the Declaratory Judgment Act, 28
U.S.C. §§ 2201 and 2202; the patent laws of the United States, 35 U.S.C. § 1 et seq.; the
Illinois Trade Secrets Act, 765 ILCS 1065/1 et seg.; the Lanham Act, 15 U.S.C. §§
1125(a) and 1126(h); the Illinois Deceptive Trade Practices Act, 815 ILCS 510/1 et seq.;
the common law of the State of Iinois; and, through implementation of the Paris
Convention for the Protection of Industrial Property.

Answer to Para. 1: Defendants deny the allegations of Paragraph 1 for lack of

subject-matter jurisdiction and failure to state a claim upon which relief can be granted.

Fed. R. Civ. P. 12(b)(1) and (6).

Il. THE PARTIES

Complaint, Para. 2: Plaintiff TR is a publicly-traded corporation organized and
existing under the laws of Spain, having its principal place of business at c/Arapiles, 14,

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28015 MADRID (SPAIN). Plaintiff TR is a leading engineering company in the design
and construction of industrial plants of all types, including those in the field of oil and
gas, petrochemicals, environmental engineering, hydrometallurgy, metallurgy and
mining.

Answer to Para. 2: Defendants lack knowledge or information sufficient to form

a belief about the truth of the allegations in Paragraph 2.

Complaint, Para. 3: On information and belief, Defendant ZincOx is a publicly-
traded corporation organized and existing under the laws of the United Kingdom, having
its principal place of business at Knightway House, Park Street, Bagshot, Surrey, GU19
SAQ, United Kingdom.

Answer_to Para. 3: Defendants admit that ZincOx is a publicly-traded

corporation organized and existing under the laws of England and Wales, having its
principal place of business at Knightway House, Park Street, Bagshot, Surrey, GU19

SAQ, United Kingdom.

Complaint, Para. 4: On information and belief, Defendant BRZ is a wholly-
owned subsidiary of Defendant ZincOx and a corporation organized and existing under
the laws of Delaware, having its principal place of business at 2401 Mississippi Avenue,
Sauget, Iinois 62201. Defendant BRZ is an electrolytic zinc refinery (the "BRZ plant")
located in Sauget, Illinois.

Answer to Para. 4: Defendants admit the allegations of Paragraph 4.

III. JURISDICTION AND VENUE

Complaint, Para. 5: This is an action for a declaratory judgment of patent
infringement, threatened or actual misappropriation of trade secrets, unfair competition,
false advertising and/or false designation of origin under the Lanham Act, and common
law unfair competition under the laws of the State of Illinois. This Court has subject
matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338(a) and (b), 2201, 2202 and 15
U.S.C. § 1126(h) through implementation of the Paris Convention for the Protection of
Industrial Property. This Court has supplemental jurisdiction over all other pendent
claims asserted herein under 28 U.S.C. § 1367(a).

Answer to Para. 5: Defendants deny the allegations of Paragraph 5.

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Complaint, Para. 6: This Court has personal jurisdiction over Defendant BRZ.
Defendant BRZ is qualified to do business in the State of Dlinois. Defendant BRZ also
has a regular and established place of business in linois and this District at 2401
Mississippi Avenue, Sauget, Illinois 62201, and is and has been doing business in Illinois
and this District at all times relevant hereto.

Answer to Para. 6: Defendants admit the allegations of Paragraph 6.

Complaint, Para. 7: This Court has personal jurisdiction over Defendant
ZincOx. Upon information and belief, at all times relevant hereto, Defendant ZincOx is
transacting and/or has transacted business with, or as, Defendant BRZ, is committing
and/or has committed tortious acts in IHinois and this District, and Defendant ZincOx's
wrongful conduct, as set forth in this Complaint, arises out of and is related to the
business it has transacted and the tortious acts it has committed in this State and District.
For example, upon information and belief:

a. By at least June 2006, Defendant ZincOx entered into a scheme
with Defendant BRZ to unlawfully acquire, disclose, and/or use TR's patented
technology, trade secrets, and other proprietary know-how to re-design and modify the
BRZ plant in [linois and this District, and Defendant BRZ and/or Defendant ZincOx
have redeveloped and continue to redevelop the BRZ plant in Ilinois and this District in
furtherance of this unlawful conspiracy;

b. Defendant ZincOx executives and/or employees routinely traveled
to this District, have had communications with Defendant BRZ representatives and others
located in [mois and this District to assist with and/or participate in the redevelopment
and modification of the BRZ plant during all relevant times hereto, and have taken the
acts listed in d. and e. below;

c. Defendant ZincOx executives, employees and/or representatives
have unlawfully acquired, disclosed, and/or used TR's technology, trade secrets, and
other proprietary know-how and/or induced the unlawful acquisition and/or use of TR's
technology, trade secrets, and other proprietary know-how by Defendant BRZ and others
involved with the redevelopment and modification of the BRZ plant in Llinois and this
District during all relevant times hereto;

d. Defendant BRZ is an agent and/or alter-ego of Defendant ZincOx,
as evidenced at least by the facts discussed herein, including, but not limited to: (i)
Defendant ZincOx directing Defendant BRZ to use TR's patented technology, trade
secrets, and other proprietary know-how in the redevelopment and modification of the
BRZ plant; (ii) Defendant ZincOx negotiating directly with TR for a process license to
use TR's patented technology, trade secrets, and other proprietary know-how in the
redevelopment and modification of the BRZ plant; (iii) Defendant ZincOx directing
Defendant BRZ to use particular firms and/or consultants in connection with the
redevelopment and modification of the BRZ plant; (iv) Defendant ZincOx completing a
preliminary economic study for the redevelopment and modification of the BRZ plant;
(v) Defendant ZincOx completing a cost estimate and feasibility study suitable for project
finance for the redevelopment and modification of the BRZ plant; (vi) Defendant ZincOx

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providing and raising funds needed for the redevelopment and modification of the BRZ
plant; (vil) Defendant ZincOx advertising and promoting the BRZ plant on its website;
(vili) Defendant ZincOx advertising and promoting the BRZ plant in press releases; (ix)
Defendant ZincOx reemploying key employees of Defendant BRZ after its purchase of
Defendant BRZ in order to facilitate a rapid start up for the new operation and to assist
with the redevelopment and modification of the BRZ plant; (x) Defendant ZincOx
integrating key Defendant BRZ employees with Defendant ZincOx's Belgian-based
engineers, who are working as onsite development teams with the local contractors for
the redevelopment and modification of the BRZ plant; (xi) Defendant ZincOx designing
and constructing a pilot plant in Belgium to assist in the redevelopment and modification
of the BRZ plant, (xii) two of the three directors on the Board of Directors of Defendant
BRZ are directors on the Board of Directors and/or executives of Defendant ZincOx, and
(xiii) on information and belief, Defendant BRZ is wholly owned and controlled by
Defendant ZincOx; and

é. On information and belief, Defendant ZincOx operates an
integrated zinc and iron recycling project in Ohio (called "the Ohio Project"), through its
wholly-owned subsidiary ZincOx (USA) Recycling, Inc., a corporation organized and
existing under the laws of Delaware, having its principal place of business at 876 Otter
Creek Road, Oregon, Ohio 43616-1200. ZincOx operates the Ohio Project through a
strategic alliance with Envirosafe Services of Ohio Inc. ZincOx has announced that it
received the "Final Permit to Install" from the Ohio Environmental Protection Agency for
the Ohio project and that site work was to begin there in May 2008. The Ohio Project will
be used to recover zinc and lead as an oxide concentrate ("HZO") from the electric arc
furnace dust generated by scrap steel recycling factories which would be treated by the
BRZ plant.

Answer to Para. 7: Defendants deny the allegations of Paragraph 7.

Complaint, Para. 8: Venue is proper in this judicial district pursuant to 28
U.S.C. §§ 1391(b), (c), and (d), 1400(b) and pursuant to 15 U.S.C. § 1126(h) through
implementation of the Paris Convention for the Protection of Industrial Property.

Answer to Para. 8: Defendants admit that venue is proper.

IV. FACTS PERTINENT TO ALL CAUSES OF ACTION

Complaint, Para. 9: TR is a leading international engineering company involved
in all aspects of the design and construction of industrial plants and power generation
plants worldwide.

Answer to Para. 9: Defendants lack knowledge or information sufficient to form

a belief about the truth of the allegations in Paragraph 9.
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Complaint, Para. 10: Since the 1970s, TR has been involved in the research and
development of proprietary solvent extraction ("SX") technologies for zinc. Today, TR is
recognized as the world leader in proprietary zinc SX technologies.

Answer to Para. 10: Defendants lack knowledge or information sufficient to

form a belief about the truth of the allegations in Paragraph 10.

Complaint, Para. 11: The original SX process developed by TR in the 1970s
was called the "ZINCEX" process. Thereafter, TR developed a modified SX process in
the 1980s referred to as the "MODIFIED ZINCEX" process. Both the ZINCEX process
and the MODIFIED ZINCEX process include the leaching, solvent extraction and
electrowinning for treatment of primary or secondary raw materials containing zinc.

Answer to Para, 11: Defendants lack knowledge or information sufficient to

form a belief about the truth of the allegations in Paragraph 11.

Complaint, Para. 12: TR owns U.S. Patent No. 6,869,520 (the "520 Patent")
entitled "Process for the Continuous Production of High Purity Electrolytic Zinc or Zinc
Compounds from Zinc Primary or Secondary Raw Materials" (attached hereto as
EXHIBIT A). The ‘520 Patent was duly and legally issued by the United States Patent
and Trademark Office on March 22, 2005 with a priority date of December 17, 1999. The
*520 Patent describes and claims the pioneering inventions of TR's scientists, relating to
an improved production process for high purity electrolytic zinc or zinc compounds by a
hydro-metallurgical process starting from zinc containing primary or secondary raw
materials. TR is the owner by assignment of the ‘520 Patent. As such, TR has the right to
enforce the ‘520 Patent and the right to seek both a preliminary and permanent injunction
and/or to recover damages for infringement of the ‘520 Patent.

Answer to Para. 12: Defendants deny all of the allegations of Paragraph 12

except as to the allegation of ownership, of which the Defendants lack knowledge or

information sufficient to form a belief about the truth of the allegation.

Complaint, Para. 13: The ‘520 Patent claims a solvent extraction process
consisting of successive physical and chemical purification zones that can continuously
and simultaneously treat zinc containing raw materials of different origins (whether
primary or secondary raw materials), resulting in a high recovery yield and delivery of
zinc or zinc compounds of extreme purity.

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Answer to Para. 13: Defendants deny the allegations of Paragraph 13.

Complaint, Para. 14: The pioneering nature of the proprietary zinc SX process
developed by TR and the inventions claimed in the “520 Patent have been widely
heralded by the hydrometallurgy scientific community. By virtue of this attention, TR's
zinc SX extraction technologies and processes have generated fame, notoriety and
goodwill.

Answer to Para. 14: Defendants deny the allegations of Paragraph 14.

Complaint, Para. 15: In or about 1976, Anglo American Corporation ("AAC")
discovered a large deposit of zinc in the south-west corner of Namibia in southern Africa.
For many years prior to knowing about TR's pioneering inventions, AAC tried to develop
the deposit at Namibia by applying traditional minerallurgical and hydrometallurgical
techniques, but the deposit was considered untreatable because of metallurgical
processing problems.

Answer _to Para. 15: Defendants deny the allegation referring to “TR’s

pioneering inventions” and lack knowledge or information sufficient to form a belief

about the truth of the remaining allegations in Paragraph 15.

Complaint, Para. 16: In or about 1996, Reunion Mining plc ("Reunion"), a
mining exploration, development and/or exploitation company, entered into an agreement
with AAC to complete a bankable feasibility study on the deposit at Namibia, called the
"Skorpion Project," with the objective of developing the route for efficient zinc extraction
in the deposit at Namibia, in or about 1997,

Answer to Para. 16: Defendants admit the allegations of Paragraph 16.

Complaint, Para. 17: Reunion entered into a confidential collaboration with
several companies to perform the bankable feasibility study. TR ran the pilot plant for
Reunion utilizing its proprietary SX technologies and the modified ZINCEX process
know-how; Union Miniere S.A. produced the operational know-how and mechanical
equipments for electrowinning.

Answer to Para. 17: Defendants admit the allegations stated in the first sentence

of Paragraph 17 and deny the allegations stated in the last sentence of Paragraph 17.
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Complaint, Para. 18: In or about 1998, TR's proprietary SX technologies for the
bankable feasibility study were used, and the corresponding process was tested at TR's
pilot plant in Spain using certain SX process steps claimed in the ‘520 Patent. This was
the first time that special high grade ("SHG") zinc (ie. greater than 99.990% purity) was
produced from the deposit at Namibia, and TR established that the use of TR's
proprietary zinc SX technologies would permit the entire process stream to be treated for
the selective recovery of zinc, a feat not previously achieved in the field of zinc
purification.

Auswer to Para. 18: Defendants deny the allegations of Paragraph 18.

Complaint, Para. 19: The bankable feasibility study for the Skorpion project
was highly successful, showing that the proprietary process of TR's zinc SX technology,
including the process described and claimed in the “520 Patent, would produce zinc at the
lowest cost in the world.

Answer to Para. 19: Defendants deny the allegations of Paragraph 19.

Complaint, Para. 20: Based on the successful results of the bankable feasibility
study, AAC purchased Reunion in 1999 for N$362 million (Namibian dollars), which is
about US$75 million.

Answer to Para. 20; Defendants deny the allegations of Paragraph 20.

Complaint, Para. 21: AAC thereafter entered into a confidential know how
license and supply agreement with TR in 2000.

Answer to Para. 21: Defendants lack knowledge or information sufficient to

form a belief about the truth of the allegations in Paragraph 21.

Complaint, Para. 22: At all times, TR's proprietary SX technologies were kept
confidential and no one had access to these proprietary SX technologies unless secrecy
and nondisclosure agreements were executed.

Answer to Para. 22: Defendants deny the allegations of Paragraph 22.

Complaint, Para. 23: TR's proprietary SX technologies were implemented in the
conversion of the Skorpion refinery to full-scale operations starting in or about 2000
through 2003 and continue to be used there today in full-scale production.

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Answer to Para. 23: Defendants deny the allegations of Paragraph 23.

Complaint, Para. 24: TR's proprietary zinc SX process now permits the
production of ultrapure electrolytes suitable for the high-volume production of Special
High Grade ("SHG") zinc in accordance with ASTM B6-06 specifications (i.e. greater
than 99.990% purity).

Answer to Para. 24: Defendants deny the allegations of Paragraph 24.

Complaint, Para, 25: TR is the only company in the world that has developed a
proprietary zinc SX process with the capability of producing commercial tonnage of zinc
at a purity greater than 99.995% (also known as LME Grade in accordance with ASTM
B6-06 specifications), and today TR derives substantial revenues from licensing this
proprietary zinc SX process technology in process licenses worldwide.

Answer to Para. 25: Defendants deny the allegations of Paragraph 25.

Complaint, Para. 26: ZincOx's Chairman, Andrew Woollett, founded Reunion
in 1989. As noted above, Reunion was engaged in mineral exploration and mining in
Africa, and Reunion obtained access in confidence to TR's proprietary zinc SX trade
secrets and confidential information during the Skorpion Project in Namibia.

Answer to Para. 26: Defendants admit the allegations of the first sentence

above, but otherwise deny the allegations of Paragraph 26,

Complaint, Para. 27: In May 1999, Andrew Woollett terminated his
employment with Reunion following AAC's successful bid to acquire Reunion. Before
Andrew Woollett left Reunion, he was a non-executive director at ZincOx. However,
after leaving Reunion, Andrew Woollett accepted the position of Managing Director at
ZincOx, and today he is the Chairman of ZincOx.

Answer to Para. 27: Defendants admit the allegations of the first sentence

above, but otherwise deny the allegations in Paragraph 27.

Complaint, Para. 28: Noel Masson also was employed by Reunion and was a
member of the Reunion Board of Directors. In 1997, Noel Masson organized ZincOx and
is currently listed as a Consultant to ZincOx on ZincOx's website. Noe] Masson obtained
access in confidence to TR's proprietary zinc SX trade secrets and confidential
information during the Skorpion Project in Namibia and to TR's pilot plant information

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during his employment at Reunion.

Answer to Para. 28: Defendants deny the allegations in Paragraph 28.

Complaint, Para. 29: In or about 1999, Duncan Turner worked with TR in
connection with assessing the feasibility of another zinc extraction project based on a
zinc oxide mine in Kazakhstan. In the course of working with TR during that feasibility
study, Duncan Turner obtained access in confidence to TR's proprietary zinc SX trade
secrets and confidential information. On its website, ZincOx indicates that Duncan
Turner has been associated with or employed by ZincOx.

Answer to Para. 29: Defendants lack knowledge or information sufficient to

form a belief about the truth of the allegations in Paragraph 29.

Complaint, Para. 30: In or about 1999, Noel Masson worked with Duncan
Turner and TR in connection with assessing the feasibility of the potential zinc extraction
project based on a zinc oxide mine in Kazakhstan. On information and belief, in the
course of working with Duncan Turner and TR at that time, Noel Masson obtained access
in confidence to TR's proprietary zinc 5X trade secrets and confidential information. In
the Prospectus issued by ZincOx on December 4, 2001, ZincOx acknowledges that the
technologies utilized by ZincOx may infringe the intellectual property rights of third
parties.

Answer to Para. 30: Defendants admit the allegations of the first sentence of

Paragraph 30, and deny the allegations of the last two sentences of Paragraph 30.

Complaint, Para. 31: In 2006 and expressly for use by ZincOx at the BRZ plant
in the United States, ZincOx, represented by Andrew Woollett, entered into negotiations
with TR for a license to TR's proprietary zinc SX technologies licensed for use at the
Skorpion refinery.

Answer to Para. 31: Defendants deny the allegations in Paragraph 31.

Complaint, Para. 32: After several months of negotiation, ZincOx abruptly
discontinued the licensing negotiations, refused to respond to TR's further requests for
discussion, and on information and belief, secretly entered into a conspiracy to infringe
TR's intellectual property rights in its patented technology, trade secrets, and other
proprietary know-how.

Answer to Para. 32: Defendants deny the allegations of Paragraph 32.

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Complaint, Para. 33: TR's proprietary zinc SX technologies include, but are not
limited to, the proprietary process and design specifications for: solvent extraction
circuits; suitable zinc pregnant liquor (ZPL) solutions; acid raffinate; organic phase
components and concentrations; chemical designs and operating conditions, such as
residence times, temperature, and acidity requirements; type and grade of agitation;
number and choice of equipment design, including distribution and design of equipment,
mixers (e.g., physical and chemical steps and parameters) and settlers (e.g., lineal
velocities, residence times and flow rates); proprietary know-how regarding the effect of
impurities and impurities extraction; stripping solutions; leaching and electrowinning
processes, including but not limited to the unique combination and interrelationship of
the SX processes with the leaching, purification and electrowinning processes; and other
proprietary special hydrometallurgical and engineering techniques and proprietary
specifications created and designed to guarantee process performance, including
industrial scale output (hereinafter referred to in the aggregate as TR's "proprietary zinc
TR-SX trade secrets and confidential information").

Answer to Para. 33: Defendants deny the allegations of Paragraph 33.

Complaint, Para. 34: TR's proprictary zinc TR-SX trade secrets and confidential
information constitute proprietary know-how separate and apart from the inventions in
the '520 Patent.

Answer to Para. 34: Defendants deny the allegations of Paragraph 34.

Complaint, Para. 35: TR's proprietary zinc TR-SX trade secrets and confidential
information are not generally known in the trade, and TR derives economic value and a
competitive advantage in the worldwide marketplace from its proprietary zinc TR-SX
trade secrets and confidential information.

Answer to Para. 35: Defendants deny the allegations of Paragraph 35.

Complaint, Para. 36: At all times, TR has used reasonable measures to protect
its proprietary zinc TR-SX trade secrets and confidential information, including the use
of proprietary process licenses, non-disclosure agreements, disclosure on a need-to-know
basis in confidential relationships, restricted access, physical security measures and the
like.

Answer to Para. 36: Defendants deny the allegations of Paragraph 36.

Complaint, Para. 37: In early 2006, ZincOx acquired the BRZ piant in Sauget,
IHinois. ZincOx has also entered into an integrated zinc and iron recycling project in

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Ohio (called "the Ohio Project").

Answer to Para. 37: Defendants admit the allegations of the last sentence above,

but otherwise deny the allegations of Paragraph 37.

Complaint, Para, 38: At the Ohio Project, a rotary hearth furnace will be used to
treat electric arc furnace dust (EAFD), a waste material produced when galvanized steel
is recycled. This process in Ohio will be used to recover zinc and lead in an oxide
concentrate ("HZO").

Answer to Para. 38; Defendants admit the allegations in Paragraph 38.

Complaint, Para. 39: The HZO then will be sent to the BRZ plant in Sauget,
Illinois. ZincOx announced that the HZO will be purified in "a new solvent extraction
unit" which, upon information and belief, will be built and derived from the unauthorized
acquisition, disclosure and use of TR's proprietary zinc TR-SX trade secrets and
confidential information and will constitute infringement of the '520 Patent.

Answer to Para. 39: Defendants deny the allegations of Paragraph 39.

Complaint, Para. 40: On November 15, 2007, the Illinois EPA issued a
Construction Permit to Defendant BRZ for the construction at the BRZ plant of an HZO
zinc recovery unit, entailing the construction of several new process emission units,
including units for a new solvent extraction process operation, specifically units for
organic regeneration, extraction, scrubbing pump and stripping tanks, and a kerosene tote
and D2EHPA tote. ZincOx has stated that the ZnSO4 solution produced by the traditional
techniques at the BRZ plant will be purified with a new solvent extraction process
proprietary to and provided by ZincOx.

Answer to Para. 40: Defendants admit the allegations stated in the first sentence

above, but otherwise deny the remainder of the allegations in Paragraph 40.

Complaint, Para. 41: On February 29, 2008, ZincOx announced that it received
the "Final Permit to Install" from the Ohio Environmental Protection Agency for the
Ohio project. Site work was expected to begin there in May 2008.

Answer to Para. 41: Defendants admit the allegations of Paragraph 41.

Complaint, Para. 42: On information and belief, Defendants' actions and

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representations as set forth herein in the foregoing and subsequent paragraphs constitute
the threatened or actual misappropriation of the zinc TR-SX trade secrets and confidential
information without TR's authorization or consent.

Answer to Para, 42: Defendants deny the allegations of Paragraph 42.

Complaint, Para. 43: On information and belief, Defendants will import, sell,
offer for sale or use products in the U.S. made using a process covered by the claims of
the ‘520 Patent.

Answer to Para. 43: Defendants deny the allegations of Paragraph 43.

Complaint, Para. 44: On information and belief, Defendants have already taken
significant steps to use a process covered by the claims of the ‘520 Patent at the BRZ
plant in Sauget, Illinois.

Answer to Para. 44: Defendants deny the allegations of Paragraph 44.

Complaint, Para. 45: On information and belief, Defendants intend to use TR's
patented zinc SX process invented by TR and licensed for use at the Skorpion refinery at
the BRZ plant.

Answer to Para. 45: Defendants deny the allegations of Paragraph 45.

Complaint, Para. 46: On information and belief, Defendants have taken at least
the following steps to use TR's patented process at the BRZ plant:

a. completing a preliminary economic study for the redevelopment of
the BRZ plant, including the use of TR's patented zinc SX technology licensed for use at
the Skorpion refinery at the BRZ plant;

b. completing a cost estimate and feasibility study suitable for project
finance for the redevelopment of the BRZ plant, including the use of TR's patented zinc
SX technology licensed for use at the Skorpion refinery at the BRZ plant;

c. planning for the redevelopment of the BRZ plant to be undertaken
as rapidly as possible;
d, planning for the refurbishment of the BRZ plant and installation

and implementation of the new zinc SX facility to the BRZ plant, which will take
approximately 16 months;

e. planning for the BRZ plant to be operational in the first quarter of
2009;

f. advertising and promoting the BRZ plant on their websites, where
they provide pictures of the progress of the redevelopment of the BRZ plant showing the
proposed location of the new zinc SX facility;

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g. advertising and promoting the BRZ plant in press releases;

h. reemploying key employees of Defendant BRZ in order to
facilitate a rapid start up for the new operation and to assist with the development of the
BRZ plant;

i. integrating key BRZ employees with Defendant ZincOx's Belgian-
based engineers, who are working as onsite development teams with the local
contractors;

j. retaining outside consultants, contractors and/or firms to assist
with the design and development of the BRZ plant;

k. designing and constructing a pilot plant in Belgium that includes a
solvent extraction circuit;

1. conducting demolition work and preparing the site of the BRZ
plant for construction; and

m. filing documents with the Illinois Environmental Protection

Agency seeking approval for redevelopment of the BRZ plant.

Answer to Para. 46: Defendants deny the allegations of Paragraph 46.

Complaint, Para. 47: On information and belief, Defendants are fully aware of
the existence of the ‘520 Patent and that using TR's patented zinc SX technology licensed
for use at the Skorpion refinery will constitute infringement of the ‘520 Patent.

Answer to Para, 47; Defendants deny the allegations of Paragraph 47.

Complaint, Para. 48: As a result of Defendants’ acts and conduct to date, an
actual justiciable controversy that is sufficiently definite and concrete and of sufficient
immediacy regarding the infringement of the ‘520 Patent now exists.

Answer to Para. 48: Defendants deny the allegations of Paragraph 48.

Complaint, Para. 49: On information and belief, Defendants’ promotion of the
BRZ project is based upon the infringement and misappropriation of TR's intellectual
property rights. Defendants therefore seek to unfairly and unlawfully trade on the
goodwill and worldwide recognition of TR's proprietary zinc TR-SX trade secrets and
confidential information without either acknowledging the design, development,
invention or ownership of the ‘520 Patent and TR's proprietary zinc TR-SX process
technology or obtaining proper authorization from TR.

Answer to Para. 49: Defendants deny the allegations of Paragraph 49.

Complaint, Para. 50: On information and belief, Defendants have claimed
falsely and publicly that Defendant ZincOx, its management team, and/or its affiliates

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designed, developed or invented the zinc SX process in use at the Skorpion refinery
when, in fact, TR designed, developed, and/or invented the zinc SX process in use at the
Skorpion refinery. For example:

a. In or about June 19, 2006, Defendants describe the zinc SX
process that they intend to use at the BRZ plant as follows:

ZincOx plans to redevelop the plant to treat EAFD. The
future operation will require the construction of a new
Jeach and purification pliant. These operations will be
essentially the same as those successfully developed by the
ZincOx management team, while at Reunion Mining PLC,
for the Skorpion electrolytic refining, in Namibia.

A true and correct copy of this report is attached hereto as EXHIBIT B-1.
b. Similarly, in or about June 5, 2006, Defendants describe the zinc
SX process that they intend to use at the BRZ plant as follows:

The future BRZ recycling operation will require the
construction of a new leach and purification plant. This
plant will be essentially the same as that successfully
designed by the ZincOx management team, when at
Reunion Mining PLC, for the Skorpion electrolytic zinc
refinery, in Namibia.

A true and correct copy of this press release is attached hereto as EXHIBIT B-2.
c. Likewise, in or about February 20, 2007, Defendants describe the
zinc SX process that they intend to use at the BRZ plant as follows:

The ZincOx management team used the solvent. extraction
process in the design of the flowsheet for the Skorpion zinc
oxide deposit in Namibia, where it now accounts for
150,000 tonnes of zinc metal production per annum.

A true and correct copy of this press release is attached hereto as EXHIBIT B-3.

d. In a March 2007 report, Defendant ZincOx, in describing the zinc
SX process that it intends to use at the BRZ plant, claims that, in connection with the
Skorpion Project, Noel Masson:

found a solution by the right combination of pH,
temperature and dissolution process coupled with solvent
extraction using a standard reagent Di-(2-ethyl hexyl)
phosphoric acid (DEHPA).

A true and correct copy of this report is attached hereto as EXHIBIT B-4.

e. On its website, Defendant ZincOx describes the zinc SX process
that it intends to use at the BRZ plant as follows:

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ZincOx plans to build a new leach and purification plant
based on the treatment of an oxide concentrate (HZO), the
product of the Ohio and Aliaga Recycling Projects. The
new plant will be located on the BRZ site and will use
purification technology recently demonstrated at Skorpion,
in Namibia, the world's tenth largest zinc mine.

A true and correct copy of the relevant portions of Defendant ZincOx's website are
attached hereto as EXHIBIT B-5.

f. On its website, Defendant ZincOx also describes the zinc SX
process that it intends to use at the BRZ plant as follows:

Test work by ZincOx on various EAFD materials has
shown that the hydrometallurgical process developed by
the management of the company [ZincOx] to recover zinc
from the Skorpion deposit in Namibia can be applied to the
treatment of EAFD,

A true and correct copy of the relevant portions of Defendant ZincOx's website are
attached hereto as EXHIBIT B-6.

Answer to Para. 50: Defendants deny the allegations of Paragraph 50.

Complaint, Para. 51: Defendants’ false designations of the origin of the zinc SX
process licensed for use at the Skorpion refinery made in press releases posted on the
Internet and circulated around the world has caused, and is likely to continue to cause,
confusion, mistake, or deception in the trade and to the public at large that Defendants
designed, developed, invented and/or own the zinc SX process licensed for use at the
Skorpion refinery, that TR is affiliated with Defendants, that TR does not own the zinc
SX process licensed for use at the Skorpion refinery, and/or that TR has sponsored or
authorized Defendants’ activities, none of which is true.

Answer to Para. 51: Defendants deny the allegations of Paragraph 51.

Complaint, Para. 52: Defendants have engaged in these foregoing activities
without permission or authorization from TR, following ZincOx's abrupt termination of
negotiations with TR to license TR's proprietary zinc TR-SX trade secrets and
confidential information. Upon information and belief, such activities were willfully and
maliciously taken in bad faith and with full knowledge of TR's design, development,
invention and/or ownership of the proprietary zinc SX process in use at the Skorpion
refinery, with the intent to deceive and mislead the public into believing that Defendants
designed, developed, invented and/or own that process technology or that Defendants
activities are sponsored, licensed, or authorized by, or affiliated, connected, or otherwise

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associated with, TR.

Answer to Para, 52: Defendants deny the allegations of Paragraph 52.

Complaint, Para. 53: On information and belief, Defendants' foregoing false
and misleading statements and actions were made with the intent to trade upon the fame,
notoriety and goodwill of TR's proprietary zinc TR-SX process technology.

Answer to Para. 53: Defendants deny the allegations of Paragraph 53.

Complaint, Para. 54: Defendants' statements and actions are likely to cause
confusion or mistake or to deceive consumers, as well as Defendants’ own shareholders
and potential investors, into thinking that Defendants designed, developed, invented
and/or own the zinc SX process in use at the Skorpion refinery or that Defendants’
reference to or use of that process is sponsored, licensed, or otherwise authorized by, or
affiliated, connected or otherwise associated with TR.

Answer to Para. 54: Defendants deny the allegations of Paragraph 54.

Complaint, Para. 55: Defendants’ statements and actions also are disparaging of
TR's business, services, and products. Misinforming TR's potential or actual customers
that TR did not design, develop, or invent and does not own the zinc SX process in use at
the Skorpion refinery attacks TR's business reputation and indirectly undermines the
quality and reliability of TR's business, services, and products.

Answer to Para. 55: Defendants deny the allegations of Paragraph 55.

Complaint, Para. 56: Upon information and belief, TR already has lost sales and
revenues based on Defendants’ false and misleading statements and unfair actions.

Answer to Para. 56: Defendants deny the allegations of Paragraph 56.

Complaint, Para. 57; Upon information and belief, Defendants’ statements and
actions have caused and will continue to cause TR great and irreparable harm and
damage. Unless restrained and enjoined by this Court, Defendants will persist in their
unlawful activities, thereby causing further damage and irreparable harm to TR and to the
public interest.

Answer to Para. 57: Defendants deny the allegations of Paragraph 57.

Complaint, Para. 58: TR has no adequate remedy at law.

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Answer to Para. 58: Defendants deny the allegations of Paragraph 58.

COUNT ONE: DECLARATORY JUDGMENT OF INFRINGEMENT OF THE
*520 PATENT

Complaint, Para. 59: TR repeats and realleges the averments of paragraphs 1-58
as if fully set forth herein.

Answer to Para. 59: Defendants repeat and reallege the answers to paragraphs 1

through 58 as if repeated verbatim herein.

Complaint, Para. 60: There is an actual controversy between TR and
Defendants as to Defendants' impending infringement of the claims of the ‘520 Patent.

Answer to Para. 60: Defendants deny the allegations of Paragraph 60.

Complaint, Para. 61: On information and belief, Defendants are building a new
zinc SX facility at the BRZ plant that will infringe the claims of the “520 Patent.

Answer to Para. 61: Defendants deny the allegations of Paragraph 61.

Complaint, Para. 62: On information and belief, Defendant BRZ’s actions will
constitute direct infringement of the claims of the ‘520 Patent in violation of 35 U.S.C. §
271 (a).

Answer to Para. 62: Defendants deny the allegations of Paragraph 62.

Complaint, Para. 63: On information and belief, Defendant ZincOx will
infringe, has induced the impending infringement of, and/or has contributed to the
impending infringement of the claims of the ‘520 Patent by using, inducing the use of or
contributing to the use of, the same or equivalent zinc SX process in use at the Skorpion
refinery at the BRZ plant.

Answer to Para. 63: Defendants deny the allegations of Paragraph 63.

Complaint, Para. 64: On information and belief, the actions of Defendant BRZ
and the actions of Defendant ZincOx, alone and in concert with Defendant BRZ, will
constitute direct and/or indirect infringement of the claims of the ‘520 Patent in violation

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of 35 U.S.C. § 271(a), (b) and/or (c).

Answer to Para. 64: Defendants deny the allegations of Paragraph 64.

Complaint, Para. 65: The actions of Defendant BRZ and the actions of
Defendant ZincOx, alone and in concert with Defendant BRZ, constitute sufficient action
in preparation for an entry into the market to create a dispute that is definite and concrete,
that touches the legal relations of parties having adverse legal interests, and that is real
and substantial.

Answer to Para. 65: Defendants deny the allegations of Paragraph 65.

Complaint, Para. 66: At all times, upon information and belief, Defendants’
actions to build a new SX unit at the BRZ plant that will infringe the ‘520 Patent has been
and continues to be deliberate and willful, and is in full knowledge of the existence of the
*520 Patent.

Answer to Para. 66: Defendants deny the allegations of Paragraph 66.

Complaint, Para. 67: Defendants’ actions to build the new SX plant that will,
upon information and belief, infringe the claims of the '520 Patent and have caused and
will continue to cause TR irreparable harm, for which there is no adequate remedy at law.

Answer to Para. 67: Defendants deny the allegations of Paragraph 67.

COUNT TWO: THREATENED OR ACTUAL MISAPPROPRIATION OF
TRADE SECRETS

Complaint, Para. 68: TR repeats and realleges the averments of paragraphs 1-58
as if fully set forth herein.

Answer to Para. 68: Defendants repeat and reallege the answers to paragraphs 1

through 58 as if repeated verbatim herein.

Complaint, Para. 69: TR's proprietary zinc TR-SX trade secrets and confidential
information, set forth individually and collectively in paragraph 33, supra, are statutory
"trade secrets” protected by the Ilinois Trade Secrets Act, 765 ILCS 1065/1 et seg.

Answer to Para. 69: Defendants deny the allegations of Paragraph 69.

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Complaint, Para. 70: At all times, TR has taken reasonable measures to protect
its proprietary zinc TR-SX trade secrets and confidential information and TR derives
economic value and competitive advantage from such information not being generally
known to the public or trade.

Answer to Para. 70: Defendants deny the allegations of Paragraph 70.

Complaint, Para. 71: On information and belief, there exists the threatened or
actual misappropriation of trade secrets by the Defendants, acting individually and in
concert, to acquire, disclose and/or use, by improper means, TR's proprietary zinc TR-SX
trade secrets and confidential information for their own benefit and/or the benefit of
others without TR's authorization and consent.

Answer to Para. 71: Defendants deny the allegations of Paragraph 71.

Complaint, Para. 72: Defendants, acting individually and in concert, know or
have reason to know that they have acquired TR's proprietary zinc TR-SX trade secrets
and confidential information under circumstances giving rise to a duty to maintain the
secrecy, or limit the use of, such information, and/or that such information was obtained
or derived from others who owe a duty to TR to maintain the confidentiality of such
information.

Answer to Para. 72: Defendants deny the allegations of Paragraph 72.

Complaint, Para. 73: On information and belief, TR has suffered or will suffer
damages, and Defendants have or will be unjustly enriched in an amount to be proven at
trial, as a direct result of Defendants’ threatened or actual misappropriation of TR's
proprietary zinc TR-SX trade secrets and confidential information.

Answer to Para. 73: Defendants deny the allegations of Paragraph 73.

Complaint, Para. 74: Defendants’ threatened or actual misappropriation of TR's
proprietary zinc TR-SX trade secrets and confidential information has been willful and
malicious and entitles TR to exemplary damages and an award of attorneys' fees and
costs pursuant to the [linois Trade Secrets Act, 765 ILCS 1065/1 et seq.

Answer to Para. 74: Defendants deny the allegations of Paragraph 74.

Complaint, Para. 75: TR also is entitled to injunctive relief to prevent the
threatened or actual misappropriation of its proprietary zinc TR-SX trade secrets and
confidential information by Defendants pursuant to the Illinois Trade Secrets Act, 765

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ILCS 1065/1 et seq.

Answer to Para. 75: Defendants deny the allegations of Paragraph 75.

COUNT THREE: FEDERAL FALSE ADVERTISING

Complaint, Para. 76: TR repeats and realleges the averments of paragraphs 1-58
as if fully set forth herein.

Answer to Para. 76: Defendants repeat and reallege the answers to paragraphs |

through 58 as if repeated verbatim herein.

Complaint, Para. 77: On information and belief, Defendants have made false
and misleading descriptions and representations of fact in their advertising and promotion
conceming the nature, characteristics, qualities, and geographical origin of Defendants’
goods, services, and commercial activities that violate Section 43(a) of the Lanham Act,
15 U.S.C. § 1125(a).

Answer to Para. 77: Defendants deny the allegations of Paragraph 77.

Complaint, Para. 78: On information and belief, Defendants' false and
misleading descriptions and representations of fact have deceived and are likely to
deceive purchasers and consumers of zinc SX process technology into purchasing from
Defendants instead of from TR, thereby injuring TR's proprietary and economic interests
in its proprietary zinc TR-SX trade secrets and confidential information and unfairly and
unlawfully shifting from TR to Defendants income and profit that should go to TR.
Additionally, Defendants' false and misleading descriptions and representations of fact
have deceived and are likely to deceive not only Defendants' own investors and
shareholders, but also members of the trade and the general public.

Answer to Para. 78: Defendants deny the allegations of Paragraph 78.

Complaint, Para. 79: On information and belief, Defendants' false and
misleading statements about essential characteristics of its own goods and commercial
activities are likely to and have impacted TR's sales, injured its business relationships and
damaged TR's goodwill and reputation.

Answer to Para. 79: Defendants deny the allegations of Paragraph 79.

Complaint, Para. 80: On information and belief, Defendants’ acts of false

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advertising have caused TR to sustain monetary damage, loss and injury, in an amount to
be determined at the time of trial.

Answer to Para. 80: Defendants deny the allegations of Paragraph 80.

Complaint, Para. 81; On information and belief, Defendants' conduct is willful,
deliberate, intentional, and in bad faith.

Answer to Para. 81: Defendants deny the allegations of Paragraph 81.

Complaint, Para. 82: By reason of Defendants' false and misleading statements
and actions, TR has sustained--and unless enjoined will continue to sustain--substantial
injury and damage. Defendants have unlawfully and wrongfully derived income and
profits and have been unjustly enriched as a result of Defendants’ false and misleading
statements and actions, and unless enjoined, will cause TR continuing irreparable harm
for which TR has no adequate remedy at law.

Answer to Para. 82: Defendants deny the allegations of Paragraph 82.

COUNT FOUR: FEDERAL UNFAIR COMPETITION AND FALSE
DESIGNATION OF ORIGIN

Complaint, Para. 83: TR repeats and realleges the averments of paragraphs 1-58
as if fully set forth herein.

Answer to Para. 83; Defendants repeat and reallege the answers to paragraphs 1

through 58 as if repeated verbatim herein.

Complaint, Para. 84: On information and belief, Defendants are illegally using
and marketing TR's proprietary zinc TR-SX technology and have falsely designated TR's
proprietary zinc TR-SX technology as their own zinc SX process.

Answer to Para. 84: Defendants deny the allegations of Paragraph 84.

Complaint, Para. 85: By falsely designating the origin of their zinc SX process
and by making false and misleading representations of fact in the promotion and
marketing of a zinc SX process, Defendants' acts and conduct, both in concert and
severally, constitute unfair competition and/or false designation of origin in violation of
Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(b),

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Answer to Para. 85: Defendants deny the allegations of Paragraph 85.

Complaint, Para. 86: On information and belief, Defendants' false designation
of TR's proprietary zinc TR-SX technology as their own zinc SX process, and
Defendants’ false and misleading description of fact in the marketing and promotion of its
zinc SX process, are likely to cause confusion, to cause mistake, and/or to deceive as to
the affiliation, connection, or association of Defendants with TR and/or as to cause
confusion, to cause mistake, and/or to deceive as to the origin, sponsorship, or approval
of Defendants’ goods, services or other commercial activities.

Answer to Para. 86: Defendants deny the allegations of Paragraph 86.

Complaint, Para. 87: On information and belief, Defendants' false and
misleading statements about essential characteristics of their own goods and commercial
activities are likely to and have impacted TR's sales, injured its business relationships and
damaged TR's goodwill and reputation.

Answer to Para. 87: Defendants deny the allegations of Paragraph 87.

Complaint, Para. 88: On information and belief, Defendants’ acts of unfair
competition and/or false designation of origin have caused TR to sustain monetary
damage, loss and injury, in an amount to be determined at the time of trial.

Answer to Para. 88: Defendants deny the allegations of Paragraph 88.

Complaint, Para, 89: On information and belief, Defendants’ conduct is willful,
deliberate, intentional, and in bad faith.

Answer to Para. 89: Defendants deny the allegations of Paragraph 89.

Complaint, Para. 90: By reason of the foregoing acts of Defendants, TR has
sustained--and unless Defendants’ acts of unfair competition and/or false designation
origin are enjoined, will continue to sustain--substantial injury and damage. Defendants
have unlawfully and wrongfully derived income and profits and have been unjustly
enriched as a result of the foregoing acts. Defendants' acts, unless enjoined, will cause TR
continuing irreparable harm, to which TR has no adequate remedy at law.

Answer to Para. 90: Defendants deny the allegations of Paragraph 90.

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COUNT FIVE: VIOLATION OF THE ILLINOIS DECEPTIVE TRADE
PRACTICES ACT

Complaint, Para. 91: TR repeats and realleges the averments of paragraphs 1-58
as if fully set forth herein.

Answer to Para. 91: Defendants repeat and reallege the answers to paragraphs 1

through 38 as if repeated verbatim herein.

Complaint, Para. 92: Defendants' false and misleading statements and actions,
both in concert and severally, constitute deceptive trade practices, including specific acts
of trade disparagement, in violation of 815 ILCS 510/1, et seq.

Answer to Para. 92: Defendants deny the allegations of Paragraph 92.

Complaint, Para. 93: On information and belief, Defendants’ false and
misleading statements and actions, both in concert and severally, are likely to cause
confusion or misunderstanding as to source, sponsorship or approval of Defendants'
goods and/or services,

Answer to Para. 93: Defendants deny the allegations of Paragraph 93.

Complaint, Para. 94: On information and belief, Defendants’ false and
misleading statements and actions, both in concert and severally, create a likelihood of
confusion as to the affiliation, connection or association of Defendants and their products
and/or services with TR's well-known products and/or services.

Answer to Para. 94: Defendants deny the allegations of Paragraph 94.

Complaint, Para. 95: On information and belief, Defendants’ false and
misleading statements and actions, both in concert and severally, disparage and impugn
the business, services, and/or products of TR.

Answer to Para. 95: Defendants deny the allegations of Paragraph 95.

Complaint, Para. 96; On information and belief, Defendants knew when they
made the false and misleading statements that they were false and misleading and
Defendants therefore have acted willfully and deliberately to deceive or to harm; in the
alternative, Defendants’ false and misleading statements were undertaken with reckless
disregard to the truth or falsity of such acts and conduct.

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Answer to Para. 96: Defendants deny the allegations of Paragraph 96.

Complaint, Para. 97: Defendants’ false and misleading statements and actions,
both in concert and severally, unless enjoined by this Court, will continue to mislead and
deceive consumers and have caused and are causing great and irreparable harm and
damage to TR's goodwill and reputation, for which TR has no adequate remedy at law.

Answer to Para. 97: Defendants deny the allegations of Paragraph 97.

COUNT SIX: COMMON LAW UNFAIR COMPETITION

Complaint, Para. 98: TR repeats and realleges the averments of paragraphs 1-58
as if fully set forth herein.

Answer to Para. 98: Defendants repeat and reallege the answers to paragraphs 1

through 58 as if repeated verbatim herein.

Complaint, Para. 99: On information and belief, Defendants' false and
misleading statements and actions, both in concert and severally, both constitute unfair
competition in violation of common law.

Answer to Para. 99: Defendants deny the allegations of Paragraph 99.

Complaint, Para, 100: On information and belief, Defendants’ false and
misleading statements and actions, both in concert and severally, have been and continue
to be deliberate and willful.

Answer to Para, 100: Defendants deny the allegations of Paragraph 100.

Complaint, Para. 101: Defendants' false and misleading statements and actions,
both in concert and severally, have caused and are causing great and irreparable harm and
damage to TR, and unless restrained and enjoined by this Court, said irreparable injury
will continue.

Answer to Para. 101: Defendants deny the allegations of Paragraph 101.

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AFFIRMATIVE DEFENSES

Defendants assert the following affirmative defenses to Plaintiffs Complaint:

FIRST AFFIRMATIVE DEFENSE

102. This court lacks subject matter jurisdiction because the Complaint is

premature, speculative, and unsupported by evidence. Fed. R. Civ. P. 12(b)(1).

SECOND AFFIRMATIVE DEFENSE

103. The Complaint fails to state a claim upon which relief can be granted
because its allegations are not based on any conduct that has actually taken place and is
therefore on its face premature, speculative, and unsupported by evidence, and by its
failure to identify with particularity Plaintiff's alleged trade secrets which are said to have
been misappropriated by any specific acts, what actual misrepresentations have been
falsely made, what designation of origin actually has been falsely made, what trade
practices actually have been deceptive, and what acts of unfair competition have actually

taken place. Fed. R. Civ. P. 12(b)(6).

THIRD AFFIRMATIVE DEFENSE
104. The ‘520 patent has not been infringed by any process alleged to have

been actually practiced, commercially or otherwise, by Defendants.

FOURTH AFFIRMATIVE DEFENSE

105. The ‘520 patent is invalid under one or more provisions of 35 U.S.C. $§
101, 102, and 103 in view of one or more prior art references, alone or in combination, as

applied to any of its asserted claims read in light of the specification and prosecution

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history. The prior art to be relied upon includes at least the following:

a. U.S. Patent No. 4,124,462 (filed Jan. 26, 1977) (the “‘462 patent”);

b. U.S. Patent No. 4,401,531 (filed Jun. 30, 1982) (the “531 patent’);

c. Inter. Pub. No. WO 94/28184 (filed May 24, 1994) (the “‘184
application”);

d. 1 C.K. Gupta & T.K. Mukherjee, Hydrometallurgy in Extraction
Processes (CRC Press 1990);

€. 2 C.K. Gupta & T.K. Mukherjee, Hydrometallurgy in Extraction
Processes (CRC Press 1990);

f. L. Rosato and M Berube, Jmproved Jarosite Process, International
Symposium — World Zinc ’93, 281-286 (1993) (the “Rosato publication”); and

g. Symposium, Zinc ’85, Proc. INI’L SYMP. ON EXTRACTIVE
METALLURGY ZINC (K. Tozawa ed., The Mining and Metallurgical Institute of Japan
1985) (the “Zinc 85 publication”).

106. The ‘520 patent is invalid under one or more paragraphs of 35 U.S.C. §

112, specifically the requirements of description, enablement to the full scope of the
claims, best mode as contemplated by the inventors at the date of the invention, and

definiteness of the claim language.

FIFTH AFFIRMATIVE DEFENSE

107. The ‘520 patent is unenforceable due to inequitable conduct, as set forth in
Paragraphs 108 through 111.

108. On information and belief, the ‘520 patent matured from an application

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(the “*520 application”) filed on June 12, 2002, with the United States Patent &
Trademark Office (the “USPTO”), which claims priority to a PCT International
Application No. ES00/000458 (the “PCT application”) filed on December 1, 2000, which
further claims priority to a Spanish Application No. ES009902777 filed on December 17,
1999 (collectively referred to as the “San Lorenzo applications”). The San Lorenzo
applications name Daniel Martin San Lorenzo, Gustavo Diaz Nogueira, and Miguel
Angel Garcia Leon (the “Applicants”) as inventors and TR (the “Assignee”) as the sole
assignee of the San Lorenzo applications. The ‘520 application was filed and prosecuted
in the United States by John C. McMahon, Esq. (the “Applicants’ attorney’’) (U.S. Patent
Registration No. 29,415), of the Law Office of John McMahon, P.O. Box 30069, Kansas
City, MO 64112.

109. On information and belief, Applicants, Applicants’ attorney, and the
Assignee (collectively referred to as the “Rule 56 Individuals’), violated their duty of
candor and good faith under 37 C.F.R. § 1.56 in fraudulently dealing with the USPTO
during the prosecution of the ‘520 application by intentionally and/or in bad faith and
with the intent to deceive failing to disclose to the USPTO all information known by
them to be non-cumulative and material to the patentability of the claims of the ‘520
application. The Rule 56 Individuals took at least the following intentional actions and/or
inactions during the prosecution of the ‘520 application:

a. One or more of the Applicants has authored or co-authored at least
one publication (the ‘Authored Publications”), which taken individually or in
combination with one or more of the other Authored Publications, prior art cited in the

*520 application, prior art noted in this Answer, or the general knowledge of one skilled

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in the art of hydrometallurgy during the pendency of the ‘520 application (collectively
referred to as the “Prior Art Information Items”), established a prima facie case of
unpatentability of the claims of the ‘520 application. Further, one or more of the
Authored Publications taken individually or in combination with one or more of the Prior
Art Information Items, was materially contradicted by and was inconsistent with the
positions taken by the Rule 56 Individuals in their assertion of arguments for the
patentability of the claims of the ‘520 application and their attempts to counter the patent
examiner’s arguments for the unpatentability of the claims of the ‘520 application during
the pendency of the ‘520 application. These Authored Publications, none of which was
disclosed to the patent examiner, include:

1. Daniel Martin, M.A. Garcia, G. Diaz & J. Falgueras, A New
Zinc Solvent Extraction Application: Spent Domestic Batteries Treatment Plant, SOC’Y
CHEMICAL INDUSTRY 201, 201-206 (2000);

ii. G. Diaz & J. M. Regife, Coping with Zinc Secondary
Materials The Modified Zincex Route, RECYCLING LEAD ZINC CHALLENGE 1990’s (1991);

ili. G. Diaz & D. Martin, Modified Zincex Process: the Clean
Safe and Profitable Solution to the Zinc Secondaries Treatment, RESOURCES,
CONSERVATION RECYCLING 43, 43-57 (1994);

iv. G. Diaz, D. Martin & C. Lombera, Zinc Recycling Through
the Modified Zincex Process, THIRD INT’L SYMP. RECYCLING METALS ENGINEERED
MATERIALS 623, 623-635 (1995);

V. M.A. Garcia, A. Mejias, D. Martin & G. Diaz, Upcoming

Zinc Mine Projects: The Key for Success is Zincex Solvent Extraction, LEAD-ZINC 2000 at

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751, 751-761 (2000); and

Vi. the Zinc 85 publication.
One example of a material misrepresentation of fact made to the USPTO by the Rule 56
Individuals is evidenced by the following passage:

It is also noted that certain of the claims call for q physical

and r chemical purification stages wherein gq, r or a

combination of q and r are at least 2 and are operated in a

counter current mode. The prior art also fails to teach such

a process.

(Statement made to the USPTO by Applicants’ attorney to traverse the rejection of the
claims of the ‘520 application on June 18, 2004). In fact, several of the Authored
Publications disclose the advantages of using multiple physical and chemical purification
stages in counter current mode, including the Zinc 85 publication.

b. In a “Combined Declaration and Power of Attorney” form (the
‘“Declaration”) filed with the USPTO on June 12, 2002, the same date the ‘520
application was filed, the Applicants expressly acknowledged their duty to disclose
information that is material to the patentability of the claims of the ‘520 application as
defined by 37 CER. § 1.56 (“Rule 56 Duties”), The Declaration also granted
Applicants’ attorney power of attorney and identified the ‘520 application as claiming
priority to the Spanish application and the PCT application.

c. A Preliminary Amendment and an Information Disclosure
Statement (“IDS”) were also filed on June 12, 2002. The IDS listed several items of art

identified in the specification of the ‘520 application and an International Search Report

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(the “ISR”)} for the PCT application dated February 13, 2001. Applicants’ attorney
signed the IDS on behalf of the Applicants and averred that the references listed in the
IDS “in the belief and opinion of the undersigned, [are] the closest art of which applicant
is aware of as of the date of execution of the Declaration. . . .”. However, the Applicants
did not reveal within the IDS any of the Authored Publications identified above.

d. An Office action was issued by the patent examiner on January 22,
2004 (“Office action”), which rejected all of the claims at issue. Subsequent to the
issuance of the Office action, a paper entitled “Notice of Opposition to a European
Patent” (the “Opposition’’) was filed with the European Patent Office on May 4, 2004,
challenging the validity of all claims of European Patent No. 1258535 (the ‘‘535
patent’). The “535 patent claims priority to the PCT application and at the time of the
Office action included claims virtually identical to those in the ‘520 application and
claims substantially similar to those in the subsequently issued ‘520 patent. The
Opposition provides a detailed analysis of the obviousness of the claims of the ‘535
patent, of which claim 1 is the sole independent claim, and asserts, in part:

1. independent claim 1 is obvious in view of the ‘184
application alone or in combination with the Rosato publication or the publication
entitled International Symposium — World Zinc ’93 — Hobart, 10-13 October 1993 “Silica
Control During Zinc Calcine Leaching at Cominco’s Trail Operations” (the “Ashman
publication’’);

il. independent claim 1] is obvious in view of the ‘462 patent
in light of one or more of the ‘531 patent, the Rosato publication, and the Ashman

publication;

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iii, independent claim 1 is obvious in view of the ‘531 patent
in light of one or more of the ‘184 application, the Rosato publication, and the Ashman
publication; and

iv. dependent claims 2-24 are obvious in light of one or more
of the ‘184 application, the Rosato publication, the Ashman publication, the ‘531 patent,
the “462 patent, U.S. Patent No. 4,572,771, and an article entitled “Productivity and
Technology in the Metallurgical Industries,” TMS-Publication, Dr. Michael Koch, John
C. Taylor, Sep. 17-22, 1989 (the “Koch publication”) (referred to herein as the “‘cited
Opposition references”).

The cited Opposition references taken individually or in combination with one or more of
the other cited Opposition references or the Prior Art Information Items, established a
prima facie case of unpatentability of the claims of the ‘520 application throughout the
pendency thereof. Further, the arguments or statements made in the Opposition with
respect to the claims of the ‘535 patent, taken alone or in combination with one or more
of the cited Opposition references or the Prior Art Information Items, established a prima
facie case of unpatentability of the claims of the ‘520 application and/or refuted or was
inconsistent with the positions taken by the Rule 56 Individuals in their assertion of
arguments for the patentability of the claims of the ‘520 application or their attempts to
counter the patent examiners arguments for the unpatentability of the claims of the ‘520
application during the pendency of same.

€. An Amendment was filed on June 18, 2004, after the Opposition
was filed, which did not inform the USPTO of the pending Opposition with respect to the

corresponding ‘535 patent. In the Amendment, Applicants’ attorney again noted his

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knowledge of the corresponding Spanish application and the PCT application by
indicating that the ‘520 application:

Was originally prepared in Spanish and in European

format which resulted in certain translational and European

practice artifacts in the claims. Consequently, the claims

have been amended to remove both the artifacts noted by

the Examiner and as well as other artifacts that have been

found to conform [sic] with U.S. practice without

incorporating new subject matter.
Applicants’ attorney also stated in the Amendment that the “cited Lorenzo patent is
believed to be the closest prior art... .” The reference to the Lorenzo patent means the
‘531 patent cited in the IDS. Further, after traversing the rejections levied by the patent
examiner on the original claims, Applicants’ attorney also made a general averment of
the patentability of some of the claims of the ‘520 application by noting “that certain of
the claims call for gq physical and r chemical purification stages wherein q, r or a
combination of q and r are at least 2 and are operated in a counter current mode.”
However, independent claims 1, 25, and 26 included no such limitation.

f. A Reply to the Opposition brief (the “Reply”) was filed by a Dr.
Joachim Hock (“Applicants’ European Attorney”) on December 9, 2004, traversing the
arguments of invalidity levied against the ‘535 patent in the Opposition. In discussing
the claimed purification treatment of the zinc loaded organic solvent in the Reply,
Applicants’ European Attorney stated: “as both washing effects (physical and chemical)

should operate synergically, claim 1 has been amended as outlined under section 2... .”

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Claim 1 of the ‘535 was amended to state, in part (deletions in strikethrough and
additions in underlining):

[T]he purification treatment of the zinc loaded organic

solvent, according to step f), is conducted in "q" physical

and +e “r' chemical purification (successive) zone(s),

organic and aqueous streams operating in counter current

mode, “r + q” being at least equal to+2....

The amendment made to claim 1 of the ‘535 patent and the statements made in the Reply
of the necessity of at least one physical zone and at least one chemical zone to accurately
claim the invention was non-cumulative and material to the patentability of the claims of
the ‘520 application. Further, the above noted amendment and statements refuted or were
inconsistent with the positions taken by the Rule 56 Individuals in their assertion of
arguments of the patentability of the claims of the ‘520 application or their opposition of
arguments of the unpatentability of the claims of the ‘520 application during the
pendency of same.

g. The Rule 56 Individuals continued to intentionally withhoid the
above noted information and continued the above noted conduct in bad faith and with the
intent to deceive throughout the prosecution of the ‘520 patent on March 22, 2005, even
though Applicants’ Attorney filed numerous papers with the USPTO, namely:

i. a Supplemental Amendment on July 15, 2004, in response
to a paper entitled “Notice of Non-Compliant Amendment” filed by the USPTO on July
7, 2004;

ii. a “Response to Notice of Non Compliant Amendment”

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filed on August 27, 2004, in response to a second “Notice of Non-Compliant
Amendment” filed by the USPTO on August 13, 2004;

iii. a paper including an Abstract of the Invention on October
28, 2004, in response to a request for an abstract of the invention by the USPTO on
October 20, 2004; and

iv. the issue fee on November 11, 2004, in response to a
Notice of Allowance and a Notice of Allowability, which were mailed on September 10,
2004.

h. On April 14, 2005, a response to the Reply (the “Reply Response”)
was filed with the European Patent Office, which included non-cumulative information
that was material to the patentability of the claims of the ‘520 patent, as similarly noted
above in connection with the Opposition.

i. The Rule 56 Individuals continued to intentionally withhold the
above noted information and continued the same conduct in bad faith after the issuance of
the “520 patent when Applicants’ Attorney filed a “Petition for Certificate of Correction”
on May 6, 2005, requesting a correction to the ‘520 patent to claim priority to the PCT
application and the Spanish application. In so doing, the Rule 56 Individuals again
acknowledged their awareness of the related applications and further averred that the
failure to list the foreign application priority data was not the Applicants fault as it had
already been provided to the USPTO.

j- A “Summons to Attend Oral Proceedings Pursuant to Rule 71(1)
EPC” was issued on June 20, 2005, to determine whether the subject matter of claim | of

the ‘535 patent involved an inventive step with regard to several documents cited in the

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Opposition,

k. A “Certificate of Correction” issued on September 6, 2005, in
connection with the *520 patent claiming priority to the PCT application and the Spanish
application.

110. The materiality and non-cumulative nature of the cited Opposition
references is further evidenced by the final revocation of the ‘535 patent by the European
Patent Office on October 15, 2008, based on one or more of such references.

111. The above noted information identified in paragraph 109 was material to
the prosecution of the ‘520 application. The information withheld was not cumulative to
information already of record or being made of record during the prosecution of the ‘520
application and the withheld information established, by itself or in combination with
other information, a prima facie case of unpatentability of the claims of the ‘520
application. Further, the information refuted, or was inconsistent with, positions the
Applicants took, by or through Applicants' Attorney and the Assignee, in opposing
arguments of unpatentability relied on by the USPTO or in asserting arguments of
patentability.

112. Upon information and belief, failure to bring the above noted information
identified in Paragraph 109 to the attention of the patent examiner was with the intent to

deceive the patent examiner.

SIXTH AFFIRMATIVE DEFENSE

113. In view of the prior art and by virtue of the proceedings in the United
States Patent and Trademark Office, the European Patent Office, and other foreign patent

offices, and the conduct, statements, admissions, misrepresentations, and arguments made

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by the Applicants of the ‘520 patent during the prosecution of the ‘520 application that
matured into the “520 patent and the conduct, statements, admissions, misrepresentations,
and arguments made by the Applicants during the prosecution and all post-prosecution
proceedings of any foreign counterpart applications related to the ‘520 patent, Plaintiffs
are estopped from asserting any construction of the claims of the ‘520 patent, which
would impermissibly broaden the literal scope of the claims thereof to cover or include
any alleged acts of infringement of which Plaintiffs complain. Specifically, on
information and belief, and as presently advised, the claims of the ‘520 patent must be
construed in light of the following:

a. The Office action rejected claims 1-16, 19, and 20 under 35 U.S.C.
§ 103(a) as being unpatentable and indicated that claims 17 and 18 would be allowable if
certain § 112 deficiencies were remedied and if rewritten to include all of the limitations
of the base claim and any intervening claim. The Amendment filed in response to the
Office action provided new independent claim 25, which was claim 18 (indicated as
claim 17 in the Office action) rewritten into independent form to include the limitations
of independent claim 1. It is noted that the incorporation of the subject matter of claim
18 into independent claim 1 was made for reasons related to the patentability of new
claim 25, as was suggested in the Office action, and therefore new claim 25 should be
found to have lost any scope of equivalents to the amended subject matter.

b. Further, in traversing the rejection of independent claim 1, and of
all the claims dependent thereon, Applicants’ Attorney distinguished the prior art from
the claimed invention by noting that the prior art did not disclose a process having at least

two neutralization zones. The statements made by Applicants’ Attorney in defining the

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invention over the prior art should therefore be found to preclude any scope of
equivalents to the claim limitation of having at least two neutralization zones in
independent claim 1, the claims dependent thereon, and any other claims in the ‘520
patent having an identical or similar limitation.

C, Still further, in response to the Opposition of the ‘535 patent, the
Reply included amendments to claim 1 thereof, which provided, in part (deletions in
strikethrough and additions in underlining):

“(T]he purification treatment of the zinc loaded organic

solvent, according to step f}, is conducted in "q" physical

and #er "r" chemical purification (successive) zone(s),

organic and aqueous streams operating in counter current

mode, “r + q” being at least equal to+2....”
Applicants’ European Attorney also noted that “as both washing effects (physical and
chemical) should operate synergically, claim 1 has been amended as outlined under
section 2... .” In light of the arguments and amendments made in the corresponding
“535 patent to define the Applicants invention over the prior art, any construction of the
claims of the ‘520 patent should be literally limited to at least one physical “q” zone and
at least one chemical “r” zone.

114. Plaintiffs are estopped from asserting any construction of the claims of the

‘520 patent, which would cover or include any of the alleged acts of infringement of

which Plaintiffs complain.

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COUNTERCLAIMS

While reserving the right to assert lack of subject matter jurisdiction, Defendants
hereby counterclaim against Plaintiff for a Declaratory Judgment of patent invalidity,
unenforceability, non-infringement, bad faith litigation, false advertising, false
designation of origin, unfair competition, and violation of the Sherman Act and Illinois

Deceptive Trade Practices Act, and allege as follows:

115. Counterclaim Plaintiff Big River Zinc Corporation, is a corporation
organized and existing under the laws of Delaware, having its principal place of business
at 2401 Mississippi Avenue, Sauget, Illinois 62201, and Counterclaim Plaintiff ZincOx
Resources PLC is a corporation organized and existing under the laws of the United
Kingdom, having its principal place of business at Knightway House, Park Street,
Bagshot, Surrey, GU19 5AQ, United Kingdom (collectively referred to as “Counter-
Plaintiffs’’).

116. Upon information and belief, Counterclaim Defendant Tecnicas Reunidas
SA (“Counter-Defendant”) is a corporation organized and existing under the laws of
Spain, having its principal place of business at c/Arapiles, 14, 28015 MADRID (SPAIN).

117. Counter-Defendant purports to be the owner of the ‘520 patent.

118. This counterclaim arises under the Declaratory Judgment Act, 28 U.S.C.
§§ 2201 and 2202; the patent laws of the United States, 35 U.S.C. § 1 et seq.; the Lanham
Act, 15 U.S.C. §3 1125(a) and 1126(h); the Illinois Deceptive Trade Practices Act, 815
ILCS 3510/1 et seg.; the Sherman Act, 15 U.S.C. § 2; the common law of the State of
Illinois; and, through implementation of the Paris Convention for the Protection of

Industrial Property.

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119. Subject matter jurisdiction exists under the Federal jurisdiction noted in
Paragraph 118 above and the ancillary related State statutes.

120. Venue is provided by the filing of the Complaint in this Court.

121. An actual and justiciable controversy exists between the Counter-Plaintiffs
and the Counter-Defendant as to the infringement, validity, and enforceability of the ‘520
patent and as to the pursuit of the present action in bad faith and in contravention of the
laws of fair competition, as evidenced, inter alia, by the Complaint and Answer in this

action.

COUNT I: INVALIDITY OF THE ‘520 PATENT

122. The ‘520 patent is invalid under at least one or more provisions of 35
U.S.C. §§ 101, 102, 103, and 112. Counter-Plaintiffs repeat and reallege the allegations

contained in Paragraphs 105 and 106 of their Answer above.

COUNT II: UNENFORCEABILITY OF THE ‘520 PATENT

123. The ‘520 patent is unenforceable due to inequitable conduct. Counter-
Plaintiffs repeat and reallege the allegations contained in Paragraphs 107 through 112 of

their Answer above.

COUNT Il: NON-INFRINGEMENT OF THE ‘520 PATENT

124. Counter-Plaintiffs have not infringed and do not infringe any claim of the

‘520 patent.

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COUNT IV: FEDERAL FALSE ADVERTISING

125. Counter-Plaintiffs repeat and reallege the averments of paragraphs 1-124
of the Answer and the Counterclaims as if fully set forth herein.

126. On information and belief, Counter-Defendant has made false and
misleading descriptions and representations of fact in their advertising and promotional
materials concerning the nature, characteristics, qualities, and geographical origin of
Counter-Defendant’s goods, services, and commercial activities that violate Section 43(a)
of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B).

127. On information and belief, Counter-Defendant’s false and misleading
descriptions and representations of fact have deceived and are likely to deceive
purchasers and consumers of zinc SX process technology into purchasing from Counter-
Defendant instead of from Counter-Plaintiffs, thereby injuring Counter-Plaintiffs’
economic interests and unfairly and unlawfully shifting from Counter-Plaintiffs to
Counter-Defendant income and profit that should go to Counter-Plaintiffs. Additionally,
upon information and belief, Counter-Defendant’s dissemination of the allegations of its
Complaint herein, which include false and misleading descriptions and representations of
fact, was made with the intent to mislead and has deceived and is likely to deceive not
only Counter-Defendant’s own investors and shareholders, but also members of the trade
and the general public.

128. On information and belief, Counter-Defendant’s false and misleading
statements about essential characteristics of its own goods and commercial activities are
likely to and have impacted Counter-Plaintiffs’ sales, injured its business relationships

and damaged Counter-Plaintiffs’ goodwill and reputation.

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129. On information and belief, Counter-Defendant’s acts of false advertising
have caused Counter-Plaintiffs to sustain monetary damage, loss and injury, in an amount
to be determined at the time of trial.

130. On information and belief, Counter-Defendant’s conduct is willful,
deliberate, intentional, and in bad faith.

131. By reason of Counter-Defendant’s false and misleading statements and
actions, Counter-Plaintiffs have sustained, and unless enjoined, will continue to sustain
substantial injury and damage. Counter-Defendant has unlawfully and wrongfully derived
income and profit and has been unjustly enriched as a result of Counter-Defendant’s false
and misleading statements and actions, and unless enjoined, will cause Counter-Plaintiffs
continuing irreparable harm for which Counter-Plaintiffs have no adequate remedy at
law.

COUNT V: FEDERAL UNFAIR COMPETITION AND FALSE DESIGNATION
OF ORIGIN

132. Counter-Plaintiffs repeat and reallege the averments of paragraphs 1-131
of the Answer and the Counterclaims as if fully set forth herein.

133. On information and belief, Counter-Defendant has falsely designated
certain zinc SX processes, as noted in the Complaint, as being maintained in confidence
and proprietary in nature to Counter-Defendant.

134. By falsely designating the confidential nature of these certain zinc SX
processes and by making false and misleading representations of fact in the promotion
and marketing of these zinc SX processes, Counter-Defendant’s acts and conduct

constitute unfair competition and/or false designation of origin in violation of Section

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43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).

135. On information and belief, Counter-Defendant’s false designation of these
certain zinc SX processes as their confidential and proprietary zinc SX processes, and
Counter-Defendant’s false and misleading description of fact in the marketing and
promotion of its zinc SX processes, are likely to cause confusion, to cause mistake,
and/or to deceive as to the affiliation, connection, or association of Counter-Plaintiffs
with Counter-Defendant and/or as to cause confusion, to cause mistake, and/or to deceive
as to the origin, sponsorship, or approval of Counter-Defendant’s goods, services or other
commercial activities.

136. On information and belief, Counter-Defendant’s false and misleading
statements about essential characteristics of their own goods and commercial activities
are likely to and have impacted Counter-Plaintiffs’ sales, imjured its business
relationships and damaged Counter-Plaintiffs’ goodwill and reputation.

137. On information and belief, Counter-Defendant’s acts of unfair competition
and/or false designation of origin have caused Counter-Plaintiffs to sustain monetary
damage, loss and injury, in an amount to be determined at the time of trial.

138. On information and belief, Counter-Defendant’s conduct is willful,
deliberate, intentional, and in bad faith.

139. By reason of the foregoing acts of Counter-Defendant, Counter-Plaintiffs
have sustained, and unless Counter-Defendant’s acts of unfair competition and/or false
designation of origin are enjoined, will continue to sustain, substantial injury and
damage. Upon information and belief, Counter-Defendant has unlawfully and

wrongfully derived income and profit and has been unjustly enriched as a result of the

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foregoing acts. Counter-Defendant’s acts, unless enjoined, will cause Counter-Plaintiffs

continuing irreparable harm, to which Counter-Plaintiffs have no adequate remedy at law.

COUNT VI: VIOLATION OF THE ILLINOIS DECEPTIVE TRADE
PRACTICES ACT

140. Counter-Plaintiffs repeat and reallege the averments of paragraphs 1-139
of the Answer and the Counterclaims as if fully set forth herein.

141, On information and belief, Counter-Defendant’s false and misleading
statements and actions constitute deceptive trade practices, including specific acts of
trade disparagement, in violation of 815 ILCS 510/1, et seg.

142. On information and belief, Counter-Defendant’s false and misleading
statements and actions are likely to cause confusion or misunderstanding as to source,
sponsorship or approval of Counter-Defendant’s goods and/or services.

143. On information and belief, Counter-Defendant’s false and misleading
statements and actions create a likelihood of confusion as to the affiliation, connection, or
association of Counter-Defendant and their products and/or services with Counter-
Plaintiffs’ well-known products and/or services.

144. On information and belief, Counter-Defendant’s false and misleading
statements and actions disparage and impugn the business, services, and/or products of
Counter-Plaintiffs.

145. On information and belief, Counter-Defendant knew when they made the
false and misleading statements that they were false and misleading and Counter-
Defendant therefore has acted willfully and deliberately to deceive or to harm; in the

alternative, Counter-Defendant’s false and misleading statements were undertaken with

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reckless disregard to the truth or falsity of such acts and conduct.

146. Counter-Defendant’s false and misleading statements and actions, unless
enjoined by this Court, will continue to mislead and deceive consumers and have caused
and are causing great and irreparable harm and damage to Counter-Plaintiffs’ goodwill

and reputation, for which Counter-Plaintiffs have no adequate remedy at law.

COUNT VI: COMMON LAW UNFAIR COMPETITION

147. Counter-Plaintiffs repeat and reallege the averments of paragraphs 1-146
of the Answer and the Counterclaims as if fully set forth herein.

148. On information and belief, Counter-Defendant’s false and misleading
statements and actions constitute unfair competition in violation of common law.

149. On information and belief, Counter-Defendant’s false and misleading
statements and actions have been and continue to be deliberate and willful.

150. Counter-Defendant’s false and misleading statements and actions have
caused and are causing great and irreparable harm and damage to Counter-Plaintiffs, and

unless restrained and enjoined by this Court, said irreparable injury will continue.

COUNT VIEL: ANTITRUST VIOLATION - WALKER PROCESS

151. Counter-Plaintiffs repeat and reallege the averments of paragraphs 1-150
of the Answer and the Counterclaims as if fully set forth herein.

152. On information and belief, Counter-Defendant’s maintenance and
enforcement of the ‘520 patent obtained by fraud on the USPTO is a violation under § 2
of the Sherman Act. 15 U.S.C. § 2.

153. On information and belief, the ‘520 patent was obtained through knowing

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and willful fraud on the USPTO by the omission and or misrepresentation of material and
non-cumulative prior art references and information as noted in Paragraphs 107 through
112.

154. On information and belief, Counter-Defendant knew of the fraud on the
USPTO in connection with the ‘520 patent when this suit was brought.

155. On information and belief, Counter-Defendant by virtue of its professed
market power resulting from its “heing recognized as the world leader in proprietary zinc
SX technologies” has monopolized or attempted to monopolize a segment of the zinc SX
market through the fraudulently obtained ‘520 patent with a reasonable probability of

SUCCESS.

COUNT IX: BAD FAITH LITIGATION

156, Counter-Plaintiffs repeat and reallege the averments of paragraphs 1-155
of the Answer and the Counterclaims as if fully set forth herein.

157. On information and belief, Counter-Defendant at the time of filing the
Complaint knew or should have known that the ‘520 patent was unenforceable based on
one or more provisions of 35 U.S.C. §§ 101, 102, 103, and 112, as noted above in
Paragraphs 105 and 106, and that the ‘520 patent was invalid based on inequitable
conduct practiced before the USPTO in connection with the prosecution of the ‘520
application, as noted above in Paragraphs 107 through 112.

158. On information and belief, Counter-Defendant through the actions and
inactions of its individual officers, directors, and managing agents, to be named as
discovery progresses, knew or should have known at the time of filing the Complaint that

the allegations of threatened or actual misappropriation of trade secrets, as noted in

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Paragraphs 68 through 75 of the Complaint, the allegations of federal false advertising,
unfair competition, and false designation of origin, as noted in Paragraphs 76 through 90
of the Complaint, the allegations of violation of the Illinois Deceptive Trade Practices
Act, as noted in Paragraphs 91 through 97, and the allegations of common law unfair
competition, as noted in Paragraphs 98 through 101, were unfounded and baseless.

159. On information and belief, the above noted acts alleged in this count were
made in an attempt to unlawfully force Counter-Plaintiffs to cease otherwise lawful
conumercial activity and/or to coerce Counter-Plaintiffs to license Counter-Defendants
purported proprietary SX technology, which at all relevant times was commonly well

known to the public at large.

PRAYER FOR RELIEF

WHEREFORE, Counter-Plaintiff prays for an adjudication as follows:

A. that Plaintiff’s/Counter-Defendant’s Complaint be dismissed with
prejudice;

B. that the ‘520 patent be declared invalid and/or unenforceable;

C. that the ‘S20 patent be declared not infringed;

D. that this case be declared exceptional under 35 U.S.C. § 285, and that
Defendants/Counter-Plaintiffs be awarded their reasonable attorney fees, costs, and
expenses incurred in connection with this action;

E. that this Court find that Plaintiff’s/Counter-Defendant’s acts and conduct
constitute unfair competition, false advertising, and/or false designation of origin in

violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A) and (B), and

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that such acts and conduct have been deliberate and willful;

F, that this Court find that Plaintiff’s/Counter-Defendant’s acts and conduct
constitute deceptive trade practices in violation of 815 ILCS 510/1, et seq., and that such
acts and conduct have been deliberate and willful:

G. that this Court find that Plaintiff’s/Counter-Defendant’s acts and conduct
constitute unfair competition in violation of common law, and that such acts and conduct
have been deliberate and willful;

H. that this Court find that Plaintiff’s/Counter-Defendant’s acts and conduct
constitute a violation under § 2 of the Sherman Act, and that such acts and conduct have
been deliberate and willful;

I. that this Court find that Plaintiff’s/Counter-Defendant’s acts and conduct
constitute bad faith litigation, and that such acts and conduct have been deliberate and
willful;

J. an award of costs and pre-judgment and post-judgment interest
Defendants/Counter-Plaintiffs have been forced to incur pursuant to 15 U.S.C. § 1117
and other applicable law;

K. an award of treble damages for willful actions pursuant to 15 U.S.C. §
1117 and other applicable law;

L. a finding that this case is an "exceptional case" within the meaning of 15
U.S.C. § 1117, 15 U.S.C. § 2, and other applicable law due to, inter alia, the above
actions of Plaintiff/Counter-Defendant;

M. an award of costs and attorneys fees and other expenses

Defendants/Counter-Plaintiffs have been forced to incur pursuant to 15 U.S.C. § 1117

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and other applicable law; and

N. that this Court grant Defendants/Counter-Plaintiffs such other further

relief as the Court deems appropriate.

JURY DEMAND

Defendant/Counter-Plaintiff hereby demands trial by jury on all issues triable to a

jury.

BIG RIVER ZINC CORPORATION and
(bb RESOURGES PLC

bute. CMO,

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CERTIFICATE OF SERVICE

The undersigned certifies that on October 23, 2008, a true and correct copy of the
foregoing document was filed electronically with the Clerk of Court to be served by
operation of the Court’s electronic filing system upon the following counsel of record via e-
mail transmission:

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